Case 3:18-mj-02074-RBB Document9 Filed 05/10/18 Page|D.l€O Pagelof4

RICHARD J. BOESEN
Attorney At Law

964 FIFTH AVENUE, SulTE 335
SAN DlEGo, CALlFoRNlA 92101-6102

TELEPHONE (619) 233-5121
FACslMlLE (619) 233-5150

MAY 10,2018

RE: United States v. Gutierrez-Flores, 18-MJ-2074-RBB

Mssrs. Loop & Lesher
United States Attorney Oft`lce

l request the following discovery.

l. Video and other surveillance.

Please preserve “a_ll physical evidence in the possession, care or custody of the
government relating to the arrest or events leading to the arrest in this case” Specitically
preserve any video and/or audio recordings of events at the location of arrest.

Please also disclose any video, dispatch tapes, RVSS footage, drone footage or other
surveillance or recordings of events occurring at “35 Draw” on April 29, 2018.

2. Video of Mr. Gutierrez’s statement(s).

Please disclose any/all recordings of Mr. Gutierrez’ statement(s) post arrest.

3. Names, locations, and reports of percipient witnesses.

Mr. Gutierrez was arrested at an area described as “35 Draw”. Other agents were present
at that time. Additionally at least 4 other undocumented individuals were present but ran
away from Mr. Gutierrez. Such information is sought to corroborate the actions of Mr.
Gutierrez and the agent(s). Mr. Gutierrez is informed and believes those 4 individuals
were arrested at or near “35 Draw”. It is believed these subjects were percipient witnesses

to Gutierrez’s

Case 3:18-mj-02074-RBB Document9 Filed 05/10/18 Page|D.l€l PageZof4

U§`/l v. Gufz'en”ez, lSmj-ZO74-RBB
Discovery letter 5/lO/18
Page 2

arrest and to the circumstances surrounding this charge. Please disclose the names and
current locations of these percipient witnesses

Please disclose any reports written concerning the other individuals apprehended by
Agent]. Lara; the Field Apprehension Reports for all people who were apprehended
by Agent Lara; the “Batch Sheets” for the people arrested by the Border Patrol;

and Border Patrol Agent Lara’s notes from his encounters with all of those people

3. Border Patrol agents present.

Please disclose the name and number of all Border Patrol agents and other law
enforcement officers present during my client’s arrest.

4. Names and locations of the alleged citizens of lndia arrested on April 27,
2018.

As noted in Mr. Gutierrez’s Motion to Dismiss the Complaint for Selective Prosecution,
the government has claimed that it arrested at least three citizens of lndia on April 27,
2018, in Goat’s Canyon.

Please disclose the names and current locations of the three alleged citizens of lndia
arrested in Goat’s Canyon on April 27, 2018.

5. Charging policies and reports.

Please disclose:

0 Any charging policies for illegal entry or illegal re-entry cases that apply to the
Southern District of California;

0 Any and all internal communications, memoranda, reports, emails, or other
statements between law enforcement officers and any members of the United
States Attorney’s Office regarding the decision to prosecute Mr. Leonel Gutierrez
(and the other people whom the Attorney General has claimed
were charged as part of the caravan);

Case 3:18-mj-02074-RBB Document9 Filed 05/10/18 Page|D.162 PageSof4

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Discovery letter 5/10/18
Page 3

0 Any and all reports bylaw enforcement officers documenting the encounter and
arrest of Mr. Gutierrez-Flores, the other people charged with illegal entry
offenses whom the government claims were members of the caravan, and the
seven people not charged - including the three people who claimed to be citizens
of lndia;

0 Any and all internal communications, memoranda, reports, emails, or other
statements between law enforcement officers and any members of the United
States /\ttorney’s Oftice regarding the three arrestees who claimed to be citizens
of lndia;

0 Any and all internal communications, memoranda, reports, emails, or other
statements within the United States Attorney’s Office regarding either the
decision to prosecute Mr. Gutierrez~Flores (and the other arrestees) or the
decision not to prosecute the three arrestees who claimed to be citizens of lndia.

0 Any guidance or policies concerning when CPB refers asylum seekers for
prosecution

0 Any policies or directives concerning the processing and turning away of asylum
seekers at the San Ysidro port of entry.

5. Residual request.

This request is not exhaustive; there will likely be more requests as the case progresses.
Please disclose all discovery to which Mr. Elvin Gutierrez-Flores is entitled under Rule 16,
including discovery that is “material to preparing the defense” under Rule lo(a)(l)(E)(i).
ii`ee United tS`fal‘er z/. Hemandez-Me:{a, 720 F.3d 760, 768 (9th Cir. 20l3) (“Materiality is a
low threshold . . . Upon request, the government must disclose any documents or other
objects within its possession, custody or control that are ‘material to preparing the
defense’ . . . lt thus behooves the government to interpret the disclosure requirement
broadly and turn over whatever evidence it has pertaining to the case.”)

Thank you for your prompt attention to these requests.
Sincerely,

s/Richard l. Boesen
Rz'c/)ard]. Boeren

Case 3:18-mj-02074-RBB Document9 Filed 05/10/18 Page|D.163 Page4of4

CERT|FICATE OF SERV|CE

Counsel for Defendant certifies that the foregoing pleading is true and accurate to the best
of his information and belief, and that a copy of the foregoing document has been served
this day upon:

MA|L|NG |NFORMAT|ON FOR CASE 18 -MJ-2074
1. A|l Parties on Electronic Mail Notice List

The following are those Who are currently on the list to receive e-mai| notices for this case.

Efile.dkt.ch@usdoj.gov

Date: l\/lay 10, 2018 /s/Richard J. Boesen
R|CHARD J. BOESEN.
Attorney for Defendant

